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04/09/2021 12:09 AM CDT




                                                        - 249 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. NOWAK
                                              Cite as 308 Neb. 249



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                             v. Lauren Marie Nowak, respondent.
                                                   ___ N.W.2d ___

                                        Filed January 22, 2021.   No. S-20-480.

                    Original action. Judgment of public reprimand.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the conditional admission
               filed by Lauren Marie Nowak, the respondent, on November
               25, 2020. The court accepts the respondent’s conditional
               admission and enters an order of public reprimand and 2 years
               of probation.

                                           FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on October 25, 2011. She is currently on
               inactive status.
                  On July 2, 2020, the Counsel for Discipline of the Nebraska
               Supreme Court, the relator, filed formal charges against the
               respondent. The formal charges consisted of one count against
               the respondent. Pursuant to Neb. Ct. R. § 3-302, the respondent
               is under the jurisdiction of the Committee on Inquiry of the
               Third Judicial District (Committee).
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. NOWAK
                       Cite as 308 Neb. 249
   The matters alleged in the formal charges were reviewed by
the Committee pursuant to Neb. Ct. R. § 3-309(H) (rev. 2011).
The Committee determined that there are reasonable grounds
for discipline of the respondent and that a public interest would
be served by the filing of formal charges.
   The formal charges generally allege violations stemming
from the respondent’s being arrested in June 2018 and charged
with one count of shoplifting (Class II misdemeanor) and
one count of possession of a controlled substance (Class IV
felony). On December 4, the respondent ultimately entered a
plea of no contest to the amended charge of attempted posses-
sion of a controlled substance, a Class I misdemeanor. She was
sentenced to 1 year of probation. She was granted early release
from probation after 6 months. The formal charges also state
that the respondent was previously convicted of a shoplifting
charge in 2017, for which she was fined $200.
   The formal charges allege that by her actions, the respondent
violated her oath of office as an attorney licensed to practice
law in the State of Nebraska as provided by Neb. Rev. Stat.
§ 7-104 (Reissue 2012) and violated Neb. Ct. R. of Prof. Cond.
§ 3-508.4(a) and (b) (misconduct).
   On November 25, 2020, the respondent filed a conditional
admission pursuant to Neb. Ct. R. § 3-313(B) of the discipli­
nary rules, in which she conditionally admitted that she vio-
lated her oath of office as an attorney and § 3-508.4(a) and (b)
of the professional conduct rules. In the conditional admission,
the respondent admits that her conduct violated the identified
rules of professional conduct. The respondent knowingly does
not challenge or contest the truth of the matters conditionally
asserted and waived all proceedings against her in exchange
for a public reprimand and probation for a period of 2 years.
During her probationary period, the respondent states she
shall abide by the terms of her monitoring agreement with
the Nebraska Lawyers Assistance Program, will not violate
any laws of the State of Nebraska and/or any ordinances
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. NOWAK
                       Cite as 308 Neb. 249
of any jurisdiction therein, and will not violate any of the
Nebraska Rules of Professional Conduct.
   The proposed conditional admission included a declaration
by the Counsel for Discipline, stating that the respondent’s pro-
posed discipline is appropriate in light of the fact that the con-
duct did not arise out of her duties as an attorney, the conduct
did not involve clients, and the respondent is actively working
on the personal behaviors that led to the charges.
                          ANALYSIS
  Section 3-313, which is a component of our rules governing
procedures regarding attorney discipline, provides in perti-
nent part:
        (B) At any time after the Clerk has entered a Formal
     Charge against a Respondent on the docket of the Court,
     the Respondent may file with the Clerk a conditional
     admission of the Formal Charge in exchange for a stated
     form of consent judgment of discipline as to all or part of
     the Formal Charge pending against him or her as deter-
     mined to be appropriate by the Counsel for Discipline
     or any member appointed to prosecute on behalf of the
     Counsel for Discipline; such conditional admission is
     subject to approval by the Court. The conditional admis-
     sion shall include a written statement that the Respondent
     knowingly admits or knowingly does not challenge or
     contest the truth of the matter or matters conditionally
     admitted and waives all proceedings against him or her in
     connection therewith. If a tendered conditional admission
     is not finally approved as above provided, it may not be
     used as evidence against the Respondent in any way.
  Pursuant to § 3-313, and given the conditional admission,
we find that the respondent knowingly does not challenge or
contest the matters conditionally admitted. We further deter-
mine that by her conduct, the respondent violated § 3-508.4(a)
and (b) (misconduct) of the professional conduct rules and her
oath of office as an attorney licensed to practice law in the
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. NOWAK
                       Cite as 308 Neb. 249
State of Nebraska. The respondent has waived all additional
proceedings against her in connection herewith. Upon due con-
sideration, the court approves the conditional admission and
enters the orders as indicated below.

                         CONCLUSION
   The respondent is publicly reprimanded. Additionally, the
respondent is to be on probation for a period of 2 years, dur-
ing which time she will abide by the terms of her monitoring
agreement with the Nebraska Lawyers Assistance Program and
the terms outlined in her conditional admission. If the respond­
ent applies to appear pro hac vice, she must disclose this disci-
pline. The respondent is directed to pay costs and expenses in
accordance with Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323
of the disciplinary rules within 60 days after an order imposing
costs and expenses, if any, is entered by the court.
                             Judgment of public reprimand.
